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        "AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                  Sheet 1



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                                                                                                                                                          ('13
                                                                                                                                                      .1- ......
                                                UNITED STATES DISTRICT COURT                                                                           I



                                                    SOUTHERN DISTRICT OF CALIFORNIA                                               .                ..          ._.'    c



                       UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAi'C~S~ ... , ..~
                                          v.                                       (For Offenses Committed On or AfteN\lqyembeJ.J...J981l, __. _ .. ""             ,

                       MICHAEL ROYCE GALYEN (1)                                    Case Number: 10CR504l-H
                                                                                   Marc B. Geller
                                                                                   Defendant's A110rney
        REGISTRATION NO. 14597-032

    o
        lHE DEFENDANT:
        I8J pleaded guilty to count(s) 1 of the Superseding Information.
        o     was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              after a plea of not guilty.
              Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
        Title & Section                        Nature of Offense                                                                            Number(s)
18 USC 2251(a) and (e)                  SEXUAL EXPLOITATION OF A CHILD                                                                      1




        The defendant is sentenced as provided in pages 2 through     6     of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 I8J Count(s) in the underlying Information                                         is   I8J   areD dismissed on the motion of the United States.
  [gI    Assessment: $100.00




  [gI Fine waived                                    o    Forfeiture pursuant to order filed                                   , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               APRIL 30, 2012




                                                                                                                                                  lOCR5041-H
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AO 245B (CASD)(Rev. 12111) Judgment in a Criminal Case
           Sheet 2 -Imprisonment
                                                                                                 Judgment - Page    2    of       6
 DEFENDANT: MICHAEL ROYCE GALYEN (1)
 CASE NUMBER: lOCR5041-H
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         294 MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends placement in the Mid-Atlantic Region near the State of Kentucky. The Court further recommends
         that the defendant participate in the RDAP program.



    o The defendant is remanded to the custody of the United States Marshal.
     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.         on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                       By
                                                                            ----------~D~EP~UTY~~UNITE~~D~S~TA~TES~~MAR~~S~HAL~-----------




                                                                                                                              lOCRS041-H
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AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page    ---l-     of _ _.;:.6_ __
DEFENDANT: MICHAEL ROYCE GALYEN (I)                                                                    1m
CASE NUMBER: tOCR504t-H
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
15 YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on Dr after September J3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imfrisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission 0 more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

IZI    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofllie DNA Analysis
IZI    Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall comply with llie requirements of the Sex Offender Registration ani! Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confrrm the
         defendant's compliance with such notification requirement.

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         AO 2458 (CASD) (Rev. 12111 Judgment in a Criminal Case
                    Sheet 4 Special Conditions
                                                                                                           Judgment-Page   ~       of _ .....6____
         DEFENDANT: MICHAEL ROYCE GALYEN (1)                                                          a
         CASE NUMBER: lOCRS041-H




                                              SPECIAL CONDITIONS OF SUPERVISION
(8)   Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission ofthe Court or probation officer.
o     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o     Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
      report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
      release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o     Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
o     Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
o     Seek and maintain full time employment and/or schooling or a combination of both.
o     Resolve all outstanding warrants within               days.
D     Complete           hours of community service in a program approved by the probation officer within
o     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

(8)   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                           lOCRS041-H
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DEFENDANT:              MICHAEL ROYCE GALYEN (1)                                     Judgment - Page              Lof--.-2
CASE NUMBER:            lOCR5041-H



               ADDITIONAL SPECIAL CONDITIONS OF SUPERVISED RELEASE

X     Register and keep the registration current, in each jurisdiction where the offender resides, where the offender is an
      employee, and where the offender is a student. For initial registration purposes only, a sex offender shall also register in
      the jurisdiction in which convicted if such jurisdiction is different from the jurisdiction of residence. 42 USC § 16913.

X     Submit your person, property house, residence, vehicle, papers, computer, electronic communications or data storage
      devices or media. and effects to search at any time, with or without a warrant, by any law enforcement or probation
      officer with reasonable suspicion concerning a violation of a condition of probation/supervised release or unlawful
      conduct, and otherwise in the lawful discharge of the officer's duties. 18 USC §§ 3563(b)(23); 3583(d)(3) .

.x.   Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are imposed by the
      court.

.x.   Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to
      the Internet without prior approval from the court or the probation officer. The offender shall consent to the installation
      of systems that will enable the probation officer to monitor computer use on any computer owned or controlled by the
      offender. The offender shall pay for the cost ofinstallation of the computer software.

.x.   Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or counseling setting.

X     Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through
      any third-party communication, with the victim or victim's family, without prior approval ofthe probation officer.

X     Not have unsupervised contact with any child under the age of 18, unless in the presence of a supervising adult (who is
      aware of the defendant's deviant sexual behavior and conviction), and with the prior approval of the probation officer.

.x.   Not accept or commence employment or volunteer activity without prior approval of the probation officer, and
      employment should be subject to continuous review and assessment by the probation officer .

.x.   Not loiter within 200 yards of a school, schoolyard, playground, park amusement center/park, public swimming pool,
      arcade, daycare center, carnival, recreation venue, library and other places frequented by persons under the age of 18,
      without prior approval ofthe probation officer.

.x.   Not possess any materials such as videos, magazines photographs, computer images or other matter that depicts "sexually
      explicit conduct" involving children as defined by 18 USC § 2256(2); and not patronize any place where such materials
      or entertainment are available .

.x.   Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and completion of
      the ABEL assessment, at the direction of the court or probation officer; and that the offender participate and successfully
      complete an approved state-certified sex offender treatment program, including compliance with treatment requirements
      ofthe program. The offender will allow reciprocal release of information between the probation officer and the treatment
      provider. The offender may also be required to contribute to the costs of services rendered in an amount to be
      determined by the probation officer, based on ability to pay.

X     Reside in a residence approved in advance by the probation officer, and any changes in residence shall be pre-approved
      by the probation officer.

                                                                                                                       lOCR5041-H
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A0245S     Judgment in Criminal Case
           Sheet 5 - Criminal Monelary Penalties

                                                                                                    Judgmenl- Page      6   of        6
DEFENDANT: MICHAEL ROYCE GALYEN (1)                                                          a
CASE NUMBER: lOCRS041-H
                                                              RESTITUTION

The defendant shall pay restitution in the amount of                $100.00              unto the United States of America.




         This sum shall be paid _             immediately.
                                         J(   as follows:
          Pay restitution in the amount of $1 00 through the Clerk, U.S. District Court, to the victim, Kim Kash, in the amount
          specified, payable forthwith or through the Inmate Financial Responsibility Program at the rate of $25 per quarter during
          the period of incarceration.




     The Court has determined that the defendant             does   have the ability to pay interest. It is ordered that:

             The interest requirement is waived.

            The interest is modified as follows:




                                                                                                   lOCR5041-H
